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                    IN THE UNITED STATES DISTRICT COURT FOR
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION



UNITED STATES OF AMERICA )
                         )
          v.             )                                  Docket No. 1:04CR10-007
                         )
MARCIA THURMAN           )


                                     ORDER
       This matter is before the Court on a petition alleging that Defendant violated the

conditions of her supervised release as outlined in Probation Form 12C filed with the Clerk of

the U. S. District Court for the Northern District of Florida, on December 31, 2008.

       Today, Defendant pled guilty to the violations as outlined in the petition. The Court

hereby finds that Defendant violated the terms and conditions of her supervised release.

       IT IS HEREBY ORDERED that Defendant Thurman be continued on supervision

under the same terms and conditions previously imposed.

       DONE AND ORDERED this second day of March, 2009.




                                        s/ Stephan P. Mickle
                                     Stephan P. Mickle
                                     United States District Judge

                                     Date         March 17, 2009
